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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA
 KATHERINE MUSLOW, ET AL.                      *                  CIVIL ACTION

 VERSUS                                        *                  NO. 19-11793

 LOUISIANA STATE UNIVERSITY AND *                                 SECTION “M” (2)
 AGRICULTURAL AND MECHANICAL
 COLLEGE, ET AL.                *


                                   ORDER AND REASONS

        This Court has conducted an in camera review of the proposed redactions to Plaintiffs’

and their spouses’ joint tax returns. See ECF No. 202.

   I.      BACKGROUND

        In response to Defendant’s Motion to Compel (ECF No. 143), Plaintiffs agreed to sign tax

authorizations releasing their tax returns. ECF No. 157, at 9. Based on that agreement, this Court

ordered Plaintiffs to produce signed authorizations by April 28, 2021. ECF No. 170, at 15.

Plaintiffs sought reconsideration of that ruling and argued that the information in the tax returns

was not relevant and was otherwise obtainable (ECF No. 198, at 3–5) and briefed the desire to

protect their investment income information and spouses’ private earnings/income information

given that their spouses are attorneys at competing law firms. Id. at 5–7. This Court ordered

Plaintiffs to produce proposed redacted tax returns along with unredacted tax returns with an

explanation for each proposed redaction for in camera inspection. ECF No. 202.

        Plaintiffs filed Motions to Review this Court’s order that Plaintiffs deliver signed tax

release authorizations and this Court’s order denying reconsideration of that decision. ECF No.

227. On July 8, 2021, the Honorably Barry W. Ashe overruled Plaintiffs’ objections. ECF No.

290. In his decision, Judge Ashe wrote:


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         Courts should be reluctant to order the disclosure of tax returns as they are
 considered “highly sensitive documents.” Nat. Gas Pipeline Co. v. Energy
 Gathering, Inc., 2 F.3d 1397, 1411 (5th Cir. 1993). To determine if tax returns
 should be produced, the moving party must “demonstrate both: (1) that the
 requested tax information is ‘relevant’ to the subject matter of the action; and (2)
 that there is a ‘compelling need’ for the information because the information
 contained in the tax returns is not ‘otherwise readily obtainable’ through alternative
 forms of discovery.” Butler v. Exxon Mobil Refin. & Supply Co., 2008 WL
 4059867, at *2 (M.D. La. Aug. 28, 2008) (quoting Nat. Gas Pipeline, 2 F.3d at
 1411). Once the moving party has shown relevance, “the burden shifts to the party
 opposing production to show that other sources exist from which the information
 contained in the income tax returns may be readily obtained.” FDIC v. LeGrand,
 43 F.3d 163, 172 (5th Cir. 1995). “[T]ax return information is relevant where a
 plaintiff has placed the subject of his income/earning capacity at issue in litigation.”
 Butler, 2008 WL 4059867, at *2. For example, tax returns are deemed to be relevant
 when the plaintiff alleges in his complaint that he was “entitled to ‘past and future
 lost wages and benefits’ and damages for ‘loss of earning capacity.’”
          In this case, Plaintiffs have unquestionably made their tax returns relevant
 by putting their income and earning capacity at issue. They seek lost wages as a
 component of damages. Nevertheless, Plaintiffs assert that there are other means
 (W-2 forms and the accountant affidavits) by which Defendants can obtain the
 information in the tax returns. However, a W-2 merely “gives a partial picture . . .
 of . . . earnings. For example, there may be 1099’s outstanding, or some kind of
 other earned income not included on the W-2’s.” EEOC v. Columbia Sussex Corp.,
 2009 WL 10679322, at *4 (M.D. La. Aug. 3, 2009). When there are questions
 regarding a source of income, “copies of [a party’s] actual, signed tax returns (and
 related documents and attachments) from the IRS, for at least a limited time period,
 are the best source of complete and competent information as to [the party’s]
 income.” Butler, 2008 WL 4059867, at *3; see also E. Auto Distribs., Inc. v.
 Peugeot Motors of Am., Inc., 96 F.R.D. 147, 149 (E.D. Va. 1982) (“Where the
 income of a party to the litigation is in issue, income tax returns provide what . . .
 may be the best source of complete and competent information as to that party's
 income.”).
         While Plaintiffs now offer alternative sources of income information, they
 are insufficient to replace the information contained in the tax returns for at least
 two reasons. First, the offer comes too late because Plaintiffs already agreed to sign
 the tax return authorizations. In their opposition to Defendants’ motion to compel,
 Plaintiffs indicated that they “will execute the tax and social security authorizations
 and request that the Court protect the personal financial information of Plaintiffs’
 spouses.” The magistrate judge grounded her ruling on this agreement, expressly
 finding: “Plaintiffs represent they agree to sign the tax and social security
 authorizations in their Opposition.” The magistrate judge’s finding to this effect is

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       not clearly erroneous or contrary to law. Second, the case law reviewed above
       supports this result even had the magistrate judge been required to reach the merits
       of Plaintiffs’ current argument. However, because the argument was not presented
       to her, Plaintiffs waived it. Accordingly, Plaintiffs have failed to meet the heavy
       burden for this Court to modify or set aside the magistrate judge’s ruling and they
       must sign the tax authorizations.
Id. at 5–7 (footnotes omitted). Judge Ashe also addressed Plaintiffs’ contention regarding their

spouses’ privacy rights:

               In their motion for reconsideration, Plaintiffs argued that their agreement to
       sign the tax return authorizations “was qualified by and contingent upon whether
       this Court granted the protections [they] requested with respect to the tax
       information of their spouses.” Plaintiffs’ opposition to the motion to compel did
       not contain any such qualification, but rather stipulates that they will sign the
       authorizations and then ask the Court to protect their spouses’ financial
       information. This is not a contingent promise. Regardless, the protections the
       magistrate judge put into place are more than sufficient.
               At the outset of this litigation, the parties jointly entered into a protective
       order to prohibit the release of confidential information. This order prevents the
       parties, their counsel, or limited third parties from disclosing or using the
       confidential information for any purpose other than this litigation. Upon Plaintiffs’
       request in their motion for reconsideration, the magistrate judge expanded these
       protections as to the tax return authorizations by incorporating the following
       procedures:
               Defendants must change the tax authorization forms for the IRS to
               send documents to Plaintiffs’ counsel address. Once Plaintiff
               receives the tax authorization forms from Defendants, Plaintiffs are
               to execute and send same to the IRS within 24 hours. Within 24
               hours of Plaintiffs’ receipt of the requested IRS documents,
               Plaintiffs must deliver for an in camera inspection their proposed
               redactions of the tax documents along with an unredacted copy, with
               an explanation as to the reasons for each proposed redaction.

               Still Plaintiffs assert in their motion for review that the protective measures
       are insufficient. Protective orders, though, can adequately protect highly sensitive
       tax information. See, e.g., Tingle v. Hebert, 2017 WL 2335646, at *6-7 (M.D. La.
       May 30, 2017) (“[T]he Protective Order currently in place already limits the
       individuals to whom confidential information can be disclosed, limits the use of
       confidential information to this litigation and in preparation for trial and provides
       for the return of such information to the producing party upon request at the
       conclusion of the litigation. Thus, the existing Protective Order addresses many . .

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       . concerns about the need to protect the information sought.”); Columbia Sussex,
       2009 WL 10679322, at *4 (“Again, the court is cognizant of the privacy issues
       raised by the release of the tax return information, but is confident that a Protective
       Order will sufficiently address that concern.”). But the magistrate judge went
       farther to protect the financial information of Plaintiffs’ spouses. Thus, while the
       opportunity for an in camera inspection is not required by law, the magistrate judge
       ordered one. See, e.g., Credit Cheque Corp. v. Zerman, 1998 WL 7123, at *1 (N.D.
       Tex. Jan. 7, 1998) (“Although an inspection might be prudent, absent such a
       mandate, this court cannot conclude that the magistrate judge’s failure to conduct
       an inspection was contrary to law.”). In doing so, the magistrate judge also allowed
       Plaintiffs the opportunity to propose redactions. See Patel v. 7-Eleven, Inc., 2019
       WL 10959829, at *2 (D. Mass. Dec. 16, 2019) (compelling the production of tax
       returns but allowing redactions to “minimize” the privacy concerns posed by the
       disclosure of spousal information). These protections are adequate.
               In sum, the magistrate judge’s order to produce executed tax return
       authorizations and, thus, Plaintiffs’ income tax returns, was not clearly erroneous
       or contrary to law, but rather a reasonable exercise of her broad discretion in
       resolving nondispositive pretrial matters.
Id. at 7-9 (footnotes omitted). Plaintiffs sought reconsideration of Judge Ashe’s decision, and on

August 12, 2021, he denied that request:

       Plaintiffs mostly reassert arguments they have raised in previous iterations of this
       motion. “‘When there exists no independent reason for reconsideration other than
       mere disagreement with a prior order, reconsideration is a waste of judicial time
       and resources and should not be granted.’” In re Taxotere, 2020 WL 2473772, at
       *1 (E.D. La. May 13, 2020) (quoting Hightower v. Group 1 Automotive, Inc., 2016
       WL 3430569, at *3 (E.D. La. June 22, 2016)). In regard to Plaintiffs’ tax returns,
       Plaintiffs raise the concern that somehow the magistrate judge and her staff cannot
       be trusted to complete an in camera review of the returns. This objection is without
       basis and cannot support a motion for reconsideration. The Court has the utmost
       confidence that court personnel will exercise the highest degree of professionalism
       and integrity in conducting the review and in protecting the confidentiality of
       personal information contained in the returns. Accordingly, reconsideration is
       unwarranted and unnecessary.
ECF No. 310, at 6 (footnotes omitted).
II.    APPLICABLE LAW AND ANALYSIS
       As an initial matter, tax returns are neither privileged nor undiscoverable, but they do

contain sensitive information and should be produced only after a showing of relevance by the


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party seeking production, after which “the burden shifts to the party opposing production to show

other sources exist from which the information contained in the returns may be readily obtained.” 1

When a plaintiff seeks compensatory damages for lost wages and/or lost earning capacity, their

tax returns are relevant to the litigation. 2 Although that information may in some instances be

gleaned from other sources, such as W-2s and 1099s, 3 Plaintiffs did not raise this argument in

April 2021 when opposing the Motion to Compel and, as Judge Ashe previously found, have

waived that argument. ECF No. 290, at 7. Accordingly, the Court cannot now revisit the issue of

whether the tax return information would be readily obtainable through other sources.

         This Court did, however, allow Plaintiffs to submit proposed redacted tax returns to

exclude irrelevant information relating to their spouses. ECF No. 202. On Friday, August 27,

2021, Plaintiff Muslow delivered her unredacted and proposed redacted tax returns for this Court’s

in camera review. Plaintiff Cunningham likewise delivered for in camera review her unredacted


1
  F.D.I.C. v. LeGrand, 43 F.3d 163, 172 (5th Cir. 1995) (evaluating whether tax returns were properly ordered to be
produced to a judgment creditor under a two-part test wherein the party seeking production must show relevance and,
then, the burden shifts to the opposing party to show other sources exist from which the information contained on the
tax returns may be readily obtained); see also Williams v. United States Env’t. Servs., LLC, No. 15-168-RLB, 2016
WL 684607, at *2 (M.D. La. Feb. 18, 2016) (using the two-part test to determine that Plaintiff’s tax returns are relevant
to the litigation as she was seeking compensatory damages for lost and unpaid wages and Defendant had a compelling
need as Plaintiff has not produced any responsive documents); E.E.O.C. v. Princeton Healthcare Sys., No. 10-4126
(PGS), 2012 WL 1623870, at *10 (D.N.J. May 9, 2012) (citations omitted) (“‘Whether tax returns are discoverable
turns on whether (1) the tax returns are relevant to the subject matter of the action . . . and [whether] (2) there is a
compelling need for the returns because the information contained therein is not otherwise readily obtainable’ and
‘[t]he party seeking the discovery at issue bears the burden of establishing its relevance ... while the party resisting
discovery bears the burden of establishing other sources for the information.’”); Haas v. Kohl's Dep't Store, Inc., No.
08-cv-2507, 2009 WL 2030567, at *1 (E.D. Pa. July 7, 2009) (citations omitted) (noting that courts apply a two-part
test in evaluating whether to compel production of tax returns: (1) are the tax returns relevant to the litigation, and if
so, (2) whether the information can be obtained from other sources).
2
  See Williams, 2016 WL 684607, at *2.
3
  See Jackson v. Unisys, Inc., No. 08-3298, 2010 WL 10018, at *2–3 (E.D. Pa. Jan. 4, 2010) (“As W–2s do not contain
‘substantial irrelevant confidential information such as investment income, spousal income, etc., they are a preferable
form of discovery.’” In the interest of balancing Plaintiff's privacy interests against the Federal Rules' call for broad
discovery, the Court finds that Plaintiff's W–2s will suffice for the information sought . . . in the income tax returns.”
(citations omitted)); see also Aliotti v. Vessel SENORA, 217 F.R.D. 496, 498 (N.D. Cal. 2003) (“[I]f after employment
of these alternative less intrusive means, Defendant has reason to believe that the information provided by Plaintiff is
untruthful or incomplete, the Court will consider a renewed motion on shortened time to require disclosure of the
some or all of the tax returns. However, any such motion will have to be based on an objective showing of cause, not
sheer speculation.”); see also E.E.O.C., 2012 WL 1623870, at *23 (allowing Plaintiff to produce W-2s instead of
income tax returns).

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and proposed redacted tax returns to the Court on September 13, 2021, presumably delayed due to

the devastation and disruption caused by Hurricane Ida. See, e.g., Gen. Order 21-12. This Court

directed delivery of the redacted tax returns to Defendants and scheduled a status conference to

hear Defendants’ objections to the proposed redactions. ECF No. 317.

       This Court’s in camera review of the documents reflects that Plaintiff Muslow has

produced redacted and unredacted copies of her joint tax returns for the 2017, 2018, 2019 and 2020

tax years. Muslow’s accountant has redacted:

       •   Social Security number for Peter Koeppel for confidentiality
       •   Names and Social Security numbers for dependents
       •   Wages - includes wages for Peter Koeppel
       •   Interest and Dividends - includes income in respect to Peter Koeppel
       •   Capital Gains - includes income in respect to Peter Koeppel
       •   Supplemental Income and Loss - includes income and expenses in respect to Peter
           Koeppel
       •   Itemized Deductions - includes expenses for Peter Koeppel
       •   Other Supporting Schedules that include income or expenses for Peter Koeppel
Plaintiff Muslow’s production included a fully unredacted version of Schedule C (Profits or Loss

from Business).

       Plaintiff Cunningham produced redacted and unredacted copies of her joint tax returns for

the 2017, 2018 and 2019 tax years as she has obtained an extension on her 2020 returns. Her

accountant notes that Plaintiff Cunningham’s income for all years only consists of wages earned

and income received as a shareholder of First Bethany Bancorp, a Subchapter S Corporation, but

Cunningham’s unredacted returns do not include a Schedule C. The returns were redacted to

exclude any items of income, deduction or expense, tax, credit or payment attributable to her

spouse only or to both taxpayers combined:

       •   Spouse’s name and social security number.
       •   Names and social security numbers for dependents.
       •   Taxable interest which includes amounts attributable to spouse only.
       •   A carryforward of a capital loss from a pre-2017 transaction.

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       •   Other gains or (loss) which includes amounts attributable to spouse only.
       •   Income from partnerships and S corporations when combined for both taxpayers, since
           spouse’s income could be calculated in those instances by simple subtraction.
       •   Deductions (and supporting schedules) to arrive at adjusted gross income which include
           amounts attributable to spouse only.
       •   Itemized deductions (and supporting schedules) reported on Schedule A which include
           amounts attributable to both taxpayers, such as real estate taxes, state income taxes,
           charitable contributions and mortgage interest.
       •   Other supporting schedules, forms and statements that include reference to income,
           deduction or expense, tax, credit or payment attributable to spouse only or to both
           taxpayers combined.
It thus appears that Plaintiffs have redacted not only information relating solely their spouses, but

also information reflecting a combination of plaintiffs’ and their spouses’ information.

       During the status conference, Defendants cited to Tingle v. Hebert, No. 15-626, 2017 WL

2335646 (M.D. La. May 30, 2017), Butler v. Exxon Mobile Refining and Supply Co., No. 07-386,

2008 WL 4059867 (M.D. La. Aug. 28, 2008), and Vedros v. Fairway Medical Center, LLC, No.

20-438 (E.D. La. Dec. 29, 2020) (ECF No. 49) to support their contention that Plaintiff’s joint tax

returns with their respective spouses should be provided, with only information relating solely to

Plaintiff’s spouses redacted. Plaintiffs requested and were granted leave to file a memorandum in

response to Defendants’ arguments wherein they distinguished Tingle and Butler on the basis that

Tingle involved a tax return request relating to a punitive damages claim against the defendant

while Butler involved a plaintiff who admitted he did not know his gambling earnings and losses

for several years, rendering the tax return the relevant best source of that information. ECF Nos.

317, at 3–4.

       The Court agrees that Tingle is inapposite as it involved the production of a defendant’s

tax returns relevant to a claim for punitive damages, which made defendant’s entire net worth

(including investment and other income reflected in his tax returns) relevant. Tingle, 2017 WL

2335646, at *2, 5. Plaintiffs’ wages and earning capacity are at issue in this case, but their entire


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net worth is not at issue. And while Butler supports Defendants’ argument for production of the

tax returns, it is not entirely on point. That case involved a disability plaintiff who admitted that

he gambled during the relevant time and received “some sort of paperwork” from the casinos

reflecting his casino earnings and losses, but he failed to produce that information. Butler, 2008

WL 4059867, at *2. That court found that plaintiff’s tax returns were relevant not only to the issue

of income including his casino activity but also to his claimed disability (allergy condition) since

he admitted that he had allergy symptoms or flare-ups as a result of going to the casinos. Id..

Given his failure to produce complete information and his deposition testimony admitting he was

uncertain about his income and contents of his tax returns for the relevant years, accurate

information was not readily obtainable from other sources and that he tax returns were the best

source of complete and competent information as to his income. Id. at *3.

         Vedros supports Defendants’ argument. In that case, Judge Douglas cited Butler and

recognized that plaintiff’s tax returns were relevant where plaintiff placed the subject of his

income/earning capacity at issue. Vedros, No. 20-438, ECF No. 49, at 2. She did not address other

avenues to obtain that information, but did note that the governing Protective Order sufficiently

protected the tax returns by limiting the use of the information and the individuals to whom the

information could be disclosed. Id. She further noted that cases allowing redaction of joint tax

returns only allow for redaction of information pertaining solely to a person who is not a party to

the lawsuit. 4 Judge Douglas specifically noted that information reflecting the combined income,

wages or information of both joint filers is relevant and proportional information that cannot be




4
  Id. (citing Tingle,, 2017 WL 2335646, at *7 (party may redact any personal, financial information pertaining solely
to his wife)); see also Johnson v. Kraft Foods N. Am., Inc., 236 F.R.D. 535, 539–40 (D. Kan. 2006) (requiring plaintiff
to produce tax returns evidencing income from any source, active or passive, before and after separation of
employment and noting that, because the returns are joint returns, plaintiff may redact any information contained on
the returns that relates solely to his spouse or his dependents as such information is not relevant to plaintiff’s damages).

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extrapolated from the returns. For that reason, the best way to balance the liberal construction of

the Federal Rules of Civil Procedure as they relate to discovery with the confidential nature of the

tax returns is through a protective order. 5

         Contrary to Defendants’ argument, not all courts have required the production of complete

tax returns (including passive and investment income) in employment discrimination suit. 6 And

while the connection between earning capacity and wage loss to investment or passive income

appears tenuous, courts have found such income information not only discoverable, 7 but

admissible at trial. 8 Had Plaintiffs not waived their arguments regarding the discoverability of

their tax returns when the issue first arose in April, they would be in a far better position to raise

these arguments now. Given the current status of this case, however, Plaintiffs’ arguments come

too late, particularly given that Judge Ashe has already held that they waived the argument

regarding discoverability of their tax returns. ECF No. 290, at 7.

         The only issue at hand is protection of confidential financial information relating to

Plaintiffs’ spouses. Based on the cited cases, redaction of a spouse’s financial information from a

joint tax return is only appropriate when the information relates solely to the spouse. As Judge


5
  Id.
6
  See, e.g., Shannon v. Liberty Mut. Grp. Inc., No. 20-1192 (RNC), 2021 WL 2644742, at *7 (D. Conn. June 28, 2021)
(denying motion to compel tax returns where plaintiff’s disclosures provided W-2s and Form 1099s but not tax returns
related to investment income because it was not clear how the plaintiff's “full financial profile” is necessary for
defendant to challenge front pay damages or mitigation of economic losses); Gattegno v. Pricewaterhousecoopers,
LLP, 205 F.R.D. 70, 73–74 (D. Conn. 2001) (holding that joint tax returns are discoverable when relevant to the issues
raised in the case and the information is not otherwise readily obtainable and after conducting an in camera review of
the tax returns to confirm that plaintiff’s wages matched that on the produced W-2s, denied production of the joint tax
returns reflecting plaintiff and her husband’s taxable interest, dividend income, tax credits, real estate rental income,
deductions and partnership or other income because defendant failed to establish how that income—other than
plaintiff’s wages and salaries—was relevant to the case).
7
  See, e.g., Gondola v. USMD PPM, LLC, 223 F. Supp. 3d 575, 587–89 (N.D. Tex. 2016) (requiring either production
of signed authorization or 1099s for income after termination and any documents reflecting any rental income, income
from any self-employment, or distributions from any 401(k) or other retirement or investment account after
termination as well as information regarding applications for disability insurance benefits and/or supplemental security
income benefits, the receipt or denial of any disability insurance benefits or supplemental security income benefits).
8
  Hunter v. Kennedy, No. 17-00007, 2020 WL 3980450, at *9 (M.D. Pa. July 14, 2020) (finding passive income
evidence relevant to earning capacity and return to employment as it relates to any decision plaintiff may make as to
returning to employment and mitigation of damages).

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Douglas recognized in Vedros, since Plaintiff’s information cannot be extrapolated from combined

information, the appropriate protection for combined information is to produce the joint returns

reflecting the information marked “Confidential” under the governing Protective Order, not

redaction of that combined information.

         Plaintiff Muslow must remove the redaction for the following items that reflect combined

information for both Plaintiff and her spouse rather than solely information for her spouse:

         •      Wages
         •      Interest and Dividends
         •      Capital Gains
         •      Supplemental Income and Loss
         •      Itemized Deductions
         •      Other Supporting Schedules that include combined income or expenses

Likewise, Plaintiff Cunningham must remove the redactions over the following items that reflect

combined information rather than information related solely to her spouse:

         •   Income from partnerships and S corporations when combined for both taxpayers
         •   Itemized deductions (and supporting schedules) reported on Schedule A which include
             amounts attributable to both taxpayers combined
         •   Other supporting schedules, forms and statements that include reference to income,
             deduction or expense, tax, credit or payment attributable to both taxpayers combined.

The properly redacted tax returns should be marked as confidential under the terms of the

governing Protective Order (ECF No. 122) and produced promptly.

III.     CONCLUSION

         Plaintiffs’ proposed redactions are excessive. Plaintiffs may redact only that information

related solely to their spouses, not combined information. Further, the redactions must be limited

to the specific line items rather than entire pages or portions of the forms at issue.

         Accordingly, for the foregoing reasons,




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       IT IS ORDERED that Plaintiffs provide revised redacted tax returns, marked

“confidential” and redacted in accordance with this Order, by September 24, 2021.

       Dated this 17th day of September, 2021.


                                                      ___________________________________
                                                          DONNA PHILLIPS CURRAULT
                                                      UNITED STATES MAGISTRATE JUDGE




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